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              EXHIBIT C
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                                        APPLICATION  OF  AUTHORITIES UNDER THE              INTER-
                                          NATIONAL EMERGENCY ECONOMIC POWERS               ACT TO
                                          COMMUNIST CHINESE MILITARY COMPANIES
                                          Pub. L. 105–261, div. A, title XII, § 1237, Oct. 17, 1998,
                                        112 Stat. 2160, as amended by Pub. L. 106–398, § 1 [[div.
                                        A], title XII, § 1233], Oct. 30, 2000, 114 Stat. 1654,
                                        1654A–330; Pub. L. 108–375, div. A, title XII, § 1222, Oct.
                                        28, 2004, 118 Stat. 2089, provided that:
                                          ‘‘(a) PRESIDENTIAL AUTHORITY.—
                                             ‘‘(1) IN GENERAL.—The President may exercise
                                          IEEPA authorities (other than authorities relating to
                                          importation) without regard to section 202 of the
                                          International Emergency Economic Powers Act (50
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  U.S.C. 1701) in the case of any commercial activity in          erence to the Director of the Central Intelligence Agen-
  the United States by a person that is on the list pub-          cy. See section 1081(a), (b) of Pub. L. 108–458, set out as
  lished under subsection (b).                                    a note under section 3001 of this title.]
     ‘‘(2) PENALTIES.—The penalties set forth in section            [For termination, effective Dec. 31, 2021, of annual re-
  206 of the International Emergency Economic Powers              porting provisions in section 1237(b)(2) of Pub. L.
  Act (50 U.S.C. 1705) apply to violations of any license,        105–261, set out above, see section 1061 of Pub. L.
  order, or regulation issued under paragraph (1).                114–328, set out as a note under section 111 of Title 10,
     ‘‘(3) IEEPA AUTHORITIES.—For purposes of paragraph           Armed Forces.]
  (1), the term ‘IEEPA authorities’ means the authori-
  ties set forth in section 203(a) of the International
  Emergency Economic Powers Act (50 U.S.C. 1702(a)).
  ‘‘(b) DETERMINATION AND REPORTING OF COMMUNIST
CHINESE MILITARY COMPANIES OPERATING IN UNITED
STATES.—
     ‘‘(1) INITIAL DETERMINATION AND REPORTING.—Not
  later than March 1, 2001, the Secretary of Defense
  shall make a determination of those persons operat-
  ing directly or indirectly in the United States or any
  of its territories and possessions that are Communist
  Chinese military companies and shall submit a list of
  those persons in classified and unclassified form to
  the following:
        ‘‘(A) The Committee on Armed Services of the
     House of Representatives.
        ‘‘(B) The Committee on Armed Services of the
     Senate.
        ‘‘(C) The Secretary of State.
        ‘‘(D) The Secretary of the Treasury.
        ‘‘(E) The Attorney General.
        ‘‘(F) The Secretary of Commerce.
        ‘‘(G) The Secretary of Energy.
        ‘‘(H) The Director of Central Intelligence.
     ‘‘(2) ANNUAL REVISIONS TO THE LIST.—The Secretary
  of Defense shall make additions or deletions to the
  list submitted under paragraph (1) on an annual basis
  based on the latest information available and shall
  submit the updated list not later than February 1,
  each year to the committees and officers specified in
  paragraph (1).
     ‘‘(3) CONSULTATION.—The Secretary of Defense shall
  consult with the following officers in carrying out
  paragraphs (1) and (2):
        ‘‘(A) The Attorney General.
        ‘‘(B) The Director of Central Intelligence.
        ‘‘(C) The Director of the Federal Bureau of Inves-
     tigation.
     ‘‘(4) COMMUNIST CHINESE MILITARY COMPANY.—For
  purposes of making the determination required by
  paragraph (1) and of carrying out paragraph (2), the
  term ‘Communist Chinese military company’
  means—
        ‘‘(A) any person identified in the Defense Intel-
     ligence          Agency      publication        numbered
     VP–1920–271–90,       dated     September       1990,   or
     PC–1921–57–95, dated October 1995, and any update of
     those publications for the purposes of this section;
     and
        ‘‘(B) any other person that—
           ‘‘(i) is owned or controlled by, or affiliated with,
        the People’s Liberation Army or a ministry of the
        government of the People’s Republic of China or
        that is owned or controlled by an entity affiliated
        with the defense industrial base of the People’s
        Republic of China; and
           ‘‘(ii) is engaged in providing commercial serv-
        ices, manufacturing, producing, or exporting.
  ‘‘(c) PEOPLE’S LIBERATION ARMY.—For purposes of
this section, the term ‘People’s Liberation Army’
means the land, naval, and air military services, the
police, and the intelligence services of the Communist
Government of the People’s Republic of China, and any
member of any such service or of such police.’’
  [Reference to the Director of Central Intelligence or
the Director of the Central Intelligence Agency in the
Director’s capacity as the head of the intelligence com-
munity deemed to be a reference to the Director of Na-
tional Intelligence. Reference to the Director of Cen-
tral Intelligence or the Director of the Central Intel-
ligence Agency in the Director’s capacity as the head of
the Central Intelligence Agency deemed to be a ref-
